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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLORADO
                                  Judge John L. Kane

  Civil Action No. 05-cv-01149-AP

  MARK WALTON,

                      Plaintiff,
  v.

  THE UNITED STATES OF AMERICA,

                      Defendant.


                                 ORDER DISMISSING CASE

  Kane, J.

         Upon consideration of the Motion to Dismiss Complaint (doc. #34), filed April 14,

  2006, it is

         ORDERED that this case is DISMISSED, each party to bear its own costs and

  attorney fees.

         Dated: April 17, 2006

                                                 BY THE COURT:

                                                 s/John L. Kane
                                                 SENIOR U.S. DISTRICT JUDGE
